         Case 25-40976           Doc 270 Filed 04/17/25 Entered 04/17/25 23:25:43                             Imaged
                                       Certificate of Notice Pg 1 of 5


                                  UNITED STATES BANKRUPTCY COURT
                                        Eastern District of Missouri
                                     Thomas F. Eagleton U.S. Courthouse
                                    111 South Tenth Street, Fourth Floor
                                            St. Louis, MO 63102


In re:                                                         Case No.: 25−40976 − B357
23andMe Holding Co.                                            Chapter: 11
Debtor(s)

                          ORDER ON MOTION FOR ADMISSION PRO HAC VICE



   The Court, having considered Max H. Siegel's motion for admission pro hac vice, has determined that cause exists
to grant the relief requested. It is, therefore,
   ORDERED that the motion is GRANTED, and Max H. Siegel is admitted pro hac vice to the bar of this Court for
the purpose of appearing in this case only.




                                                               U. S. Bankruptcy Judge


Dated: 4/15/25
St. Louis, Missouri
Rev. 09/16 omphvbk
              Case 25-40976                 Doc 270 Filed 04/17/25 Entered 04/17/25 23:25:43                                              Imaged
                                                  Certificate of Notice Pg 2 of 5
                                                              United States Bankruptcy Court
                                                               Eastern District of Missouri
In re:                                                                                                                 Case No. 25-40976-bcw
23andMe Holding Co.                                                                                                    Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0865-4                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Apr 15, 2025                                               Form ID: omphvbk                                                          Total Noticed: 45
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 17, 2025:
Recip ID                   Recipient Name and Address
db                     +   23andMe Holding Co., 870 Market Street, Room 415, San Francisco, CA 94102-3010
aty                    +   Alysa Z Hutnik, Washington Harbour, Suite 400, 3050 K Street, NW, Washington, DC 20007-5108
aty                    +   Christopher Hopkins, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Deborah A. Hoehne, 620 Eighth Avenue, New York, NY 10018-1618
aty                    +   Evan Hill, Skadden, Arps, Slate, Meagher & Flom LLP, One Manhattan West, New York, NY 10001-0193
aty                    +   Grace C Hotz, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   James A. Copeland, 1301 Avenue of the Americas, New York, NY 10019-6022
aty                    +   Jason Adams, Kelley Drye & Warren LLP, 3 World Trade Center, 175 Greenwich Street, New York, NY 10007-2759
aty                    +   Jason Kestecher, Skadden, Arps, Slate, Meagher & Flom LLP, One Manhattan West, New York, NY 10001-0193
aty                    +   Jessica I Choi, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Joe Larkin, Skadden, Arps, Slate, Meagher & Flom LLP, One Rodney Square, 920 N. King Street, Wilmington, DE 19801-3356
aty                    +   Justin Simms, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Katherine M Lynn, 620 Eighth Avenue, New York, NY 10018-1618
aty                    +   Kristian W Gluck, 2200 Ross Ave., Suite 3600, Dallas, TX 75201-7921
aty                    +   Lauren Castillo, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Maeghan J McLoughlin, 3 World Trade Center, 175 Greenwich Street, New York, NY 10007-2439
aty                    +   Max H Siegel, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Michael S Greger, 2010 Main Street, 8th Floor, Irvine, CA 92614-7203
aty                    +   Moshe Jacob, Skadden, Arps, Slate, Meagher & Flom LLP, One Manhattan West, New York, NY 10001-0193
aty                    +   Paul M. Basta, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Robert J. Lemons, 620 Eighth Avenue, New York, NY 10018-1618
aty                    +   Robert M Hirsh, 1301 Avenue of the Americas, New York, NY 10019-6022
aty                    +   Ron E Meisler, 320 S Canal Street, Chicago, IL 60606-5707
aty                    +   Steven L Yachik, 3 World Trade Center, 175 Greenwich Street, New York, NY 10007-2439
aty                    +   William A. Clareman, 1285 Avenue of the Americas, New York, NY 10019-6031
intp                   +   API Innovation Center, 20 S. Sarah Street, St. Louis, MO 63108-2819
intp                   +   Amanda Austin, 3324 Granada St., Edinburg, TX 78542-2196
cr                     +   Core Weave Inc., 101 Eisenhower Parkway, Roseland, NJ 07068-1050
crcm                   +   Jellyfish US Limited, Attn.: Peter Acimovic, 155 Avenue of the Americas, 11th Floor, New York, NY 10013-1507
op                     +   Kroll Restructuring Administration LLC, 1 World Trade Center, 31st Floor, New York, NY 10007, UNITED STATES 10007-0090
intp                   +   NAAG Client States, National Assoc. of Attys. General, 1850 M Street NW, 12th Floor, Washington, DC 20036 UNITED STATES
                           20036-5882
intp                   +   State of Alaska, State of Alaska, 1031 W 4th Ave, Anchorage, AK 99501, UNITED STATES 99501-5900
intp                       State of Indiana, Office of the Indiana Attorney General, 302 W Washington St, IGCS-5th Floor, Indianapolis, IN 46204
intp                   +   TTAM 2.0, LLC, c/o Armstrong Teasdale LLP, 7700 Forsyth Blvd, Suite 1800, St. Louis, MO 63105-1807
crcm                       Telus International Services Limited, Attn.: Jeff Brown, Voxpro House Point Village East Wall Roa, Dublin, IRELAND
crcmch                 +   Whitney S. Grubb, Committee Chair, c/o Alexander F. Schalow, Labaton Keller Sucharow, 140 Broadway, New York, NY 10005-1108
crcm                   +   Workday, Inc., 6110 Stoneridge Mall Road, Attn: Joel Smith, Pleasonton, CA 94588-3211

TOTAL: 37

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     ^ MEBN
                                                                                        Apr 15 2025 23:48:08      Commonwealth of Pennsylvania, Office of
                                                                                                                  Attorney G, 1251 Waterfront Place, Mezzanine
              Case 25-40976               Doc 270 Filed 04/17/25 Entered 04/17/25 23:25:43                                          Imaged
                                                Certificate of Notice Pg 3 of 5
District/off: 0865-4                                               User: admin                                                             Page 2 of 4
Date Rcvd: Apr 15, 2025                                            Form ID: omphvbk                                                      Total Noticed: 45
                                                                                                            Level, Attn: Lauren Michaels, Pittsburgh, PA
                                                                                                            15222, UNITED STATES 15222-4227
op                     ^ MEBN
                                                                                    Apr 15 2025 23:48:10    Kroll Restructuring Administration LLC, 1 World
                                                                                                            Trade Center, 31st Floor, New York, NY 10007,
                                                                                                            UNITED STATES 10007-0090
crcm                   ^ MEBN
                                                                                    Apr 15 2025 23:47:55    Laboratory Corporation of America Holdings and
                                                                                                            Sub, Attn: Matthew Mall, 531 South Spring Street,
                                                                                                            Burlington, NC 27215-5866
cr                     + Email/Text: ecfnotices@dor.mo.gov
                                                                                    Apr 15 2025 23:52:00    Missouri Department of Revenue, Bankruptcy
                                                                                                            Unit, PO Box 475, 301 W High St, Jefferson City,
                                                                                                            MO 65101-1517
cr                     + Email/Text: schristianson@buchalter.com
                                                                                    Apr 15 2025 23:52:00    Oracle America, Inc., Buchalter PC, c/o Shawn M.
                                                                                                            Christianson, Esq., 425 Market Street, Suite 2900,
                                                                                                            San Francisco, CA 94105-2491
intp                   + Email/Text: bankruptcy@coag.gov
                                                                                    Apr 15 2025 23:53:00    State of Colorado, Colorado Department of Law,
                                                                                                            1300 Broadway, 8th Floor, Denver, CO 80203,
                                                                                                            UNITED STATES 80203-2104
intp                   + Email/Text: bankruptcy.notices@ag.state.mn.us
                                                                                    Apr 15 2025 23:52:00    State of Minnesota, Minnesota Attorney General's
                                                                                                            Office, 445 Minnesota Street, Suite 1400, St. Paul,
                                                                                                            MN 55101-2131
intp                   + Email/Text: AGBankAGO@ag.tn.gov
                                                                                    Apr 15 2025 23:52:00    State of Tennessee, c/o TN Attorney General's
                                                                                                            Office, Bankruptcy Division, P.O. Box 20207,
                                                                                                            Nashville, TN, UNITED STATES 37202-4015
intp                   + Email/Text: bcd@oag.texas.gov
                                                                                    Apr 15 2025 23:52:00    State of Texas, c/o Attorney General's Office,
                                                                                                            Bankruptcy & Collections Division, P. O. Box
                                                                                                            12548, Austin, TX 78711-2548, UNITED
                                                                                                            STATES 78711-2548

TOTAL: 9


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 17, 2025                                         Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 15, 2025 at the address(es) listed below:
Name                              Email Address
A. Thomas DeWoskin
                                  on behalf of Creditor Core Weave Inc. tdewoskin@dmfirm.com sray@dmfirm.com

Abigail Rushing Ryan
                                  on behalf of Interested Party NAAG Client States aryan@naag.org
                Case 25-40976          Doc 270 Filed 04/17/25 Entered 04/17/25 23:25:43                                           Imaged
                                             Certificate of Notice Pg 4 of 5
District/off: 0865-4                                             User: admin                                                              Page 3 of 4
Date Rcvd: Apr 15, 2025                                          Form ID: omphvbk                                                       Total Noticed: 45
Abigail Rushing Ryan
                              on behalf of Interested Party National Association of Attorneys General aryan@naag.org

Camber Jones
                              on behalf of Creditor KR OP Tech LLC cjones@spencerfane.com,
                              klane@spencerfane.com;camber-jones-5741@ecf.pacerpro.com

Carole J. Ryczek
                              on behalf of U.S. Trustee Office of US Trustee carole.ryczek@usdoj.gov

Dalila Z Jordan
                              on behalf of Interested Party State of Minnesota dalila.jordan@ag.state.mn.us

David L. Going
                              on behalf of Interested Party TTAM 2.0 LLC dgoing@armstrongteasdale.com, jscharf@armstrongteasdale.com

Eric R Wilson
                              on behalf of Creditor Committee Official Committee of Unsecured Creditors kdwbankruptcydepartment@kelleydrye.com

Erin M. Edelman
                              on behalf of Interested Party TTAM 2.0 LLC eedelman@armstrongteasdale.com

Heather M Crockett
                              on behalf of Interested Party State of Indiana heather.crockett@atg.in.gov marie.baker@atg.in.gov

Jacqueline Paige Smothers
                              on behalf of Interested Party State of Alaska paige.smothers@alaska.gov

James Treece
                              on behalf of Creditor Missouri Department of Revenue james.treece@dor.mo.gov

John G. Willard
                              on behalf of Interested Party API Innovation Center jgwillard@spencerfane.com
                              cwilkison@spencerfane.com;bcollins@spencerfane.com

Joseph Richard Schlotzhauer
                              on behalf of U.S. Trustee Office of US Trustee joseph.schlotzhauer@usdoj.gov

Joshua M Watts
                              on behalf of Interested Party JMB Capital Partners Lending LLC josh.watts@nortonrosefulbright.com

Joshua Michael Jones
                              on behalf of Interested Party United States of America joshua.m.jones@usdoj.gov
                              rebecca.ferguson@usdoj.gov;peggy.dryden@usdoj.gov;caseview.ecf@usdoj.gov;usamoe.crimdock@usdoj.gov;usamoe.civldock
                              @usdoj.gov

Justin D Leonard
                              on behalf of Interested Party State of Oregon justin.leonard@doj.oregon.gov

Laura Toledo
                              on behalf of Interested Party TTAM 2.0 LLC ltoledo@atllp.com, blabrier@atllp.com

Lauren A. Michaels
                              on behalf of Creditor Commonwealth of Pennsylvania Office of Attorney General, Bureau of Consumer Protection
                              lmichaels@attorneygeneral.gov

Lawrence E. Parres
                              on behalf of Debtor 23andMe Holding Co. lparres@lewisrice.com larry-parres-3537@ecf.pacerpro.com

Layla Milligan
                              on behalf of Interested Party State of Texas layla.milligan@oag.texas.gov

Lillian Leona Frank
                              on behalf of Interested Party State of Indiana Leona.Frank@atg.in.gov marie.baker@atg.in.gov

Marvin E. Clements
                              on behalf of Interested Party State of Tennessee agbankmo@ag.tn.gov

Nathan R Wallace
                              on behalf of Debtor 23andMe Holding Co. nrw@carmodymacdonald.com
                              kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Nicholas J. Zluticky
                              on behalf of Creditor Committee Official Committee of Unsecured Creditors nicholas.zluticky@stinson.com

Office of US Trustee
                              USTPRegion13.SL.ECF@USDOJ.gov

Robert Padjen
                              on behalf of Interested Party State of Colorado robert.padjen@coag.gov

Robert E Eggmann, III
                              on behalf of Debtor 23andMe Holding Co. ree@carmodymacdonald.com
               Case 25-40976      Doc 270 Filed 04/17/25 Entered 04/17/25 23:25:43                                         Imaged
                                        Certificate of Notice Pg 5 of 5
District/off: 0865-4                                        User: admin                                                        Page 4 of 4
Date Rcvd: Apr 15, 2025                                     Form ID: omphvbk                                                 Total Noticed: 45
                          thr@carmodymacdonald.com;ala@carmodymacdonald.com;kxd@carmodymacdonald.com

Roma N Desai
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Shawn M Christianson
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Thomas H Riske
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                          kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
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                          kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Plaintiff 23andMe Inc. thr@carmodymacdonald.com, kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Debtor Lemonaid Health Inc. thr@carmodymacdonald.com,
                          kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Plaintiff 23andMe Holding Co. thr@carmodymacdonald.com
                          kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Debtor LPharm RX LLC thr@carmodymacdonald.com kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Debtor LPRXThree LLC thr@carmodymacdonald.com kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Debtor 23andMe Pharmacy Holdings Inc. thr@carmodymacdonald.com,
                          kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Debtor LPharm CS LLC thr@carmodymacdonald.com kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Debtor Lemonaid Pharmacy Holdings Inc. thr@carmodymacdonald.com
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Thomas H Riske
                          on behalf of Debtor LPRXTwo LLC thr@carmodymacdonald.com kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Debtor LPharm INS LLC thr@carmodymacdonald.com
                          kxd@carmodymacdonald.com;ala@carmodymacdonald.com

Thomas H Riske
                          on behalf of Debtor 23andMe Inc. thr@carmodymacdonald.com, kxd@carmodymacdonald.com;ala@carmodymacdonald.com


TOTAL: 44
